      CASE 0:07-cr-00419-DWF-AJB          Doc. 204    Filed 07/22/08      Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,                            Criminal No. 07-419(6) (DWF/AJB)

                     Plaintiff,

v.                                                                                ORDER

Xiro Naovalath,

                     Defendant.


Christian S. Wilton, Assistant United States Attorney, United States Attorney’s Office,
counsel for Plaintiff.

Kassius O. Benson, Esq., Law Office of Kassius O’ Benson, PA, counsel for Defendant
Xiro Naovalath.


       Based upon the Report and Recommendation of United States Magistrate Judge

Arthur J. Boylan, and after an independent review of the files, record and proceeding in

the above-entitled matter,

       IT IS HEREBY ORDERED that:

       1.     Defendant Xiro Naovalath’s Motion to Suppress Statements (Doc. No. 115)

is DENIED.

       2.     Defendant Xiro Naovalath’s Motion to Suppress Evidence of Electronic

Surveillance in the Form of Wiretaps (Doc. No. 119) is DENIED.



Dated: July 21, 2008              s/Donovan W. Frank
                                  DONOVAN W. FRANK
                                  Judge of United States District Court
